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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 16-23148-CV- Williams
UNITED STATES OF AMERICA,

Plaintiff,
vs.

PHILIP ESFORMES,

Defendant.
/

UNOPPOSED MOTION OF BUSINESS ENTITY FOR APPROVAL OF CONTRACT
TO SELL ALF KNOWN AS EDEN GARDENS

Business entity ADAR Associates, LLC (owns ALF known as Eden Gardens), (“Business
Entity”), files its unopposed motion for approval of a contract to sell the adult living facility known
as Eden Gardens. In support, Business Entity states as follows:

Certain business entities, including Movant, entered into a Stipulation Regarding
Interlocutory Sale of Certain Real Properties and Related Business Interests in this case
(“Stipulation”) (DE 108-1). This Court entered an Order approving that Stipulation (DE 113).

Business Entity marketed the sale of the ALF Eden Gardens pursuant to the Stipulation.
The Stipulation requires that the Court approve any offers to purchase assets subject to the
Stipulation. See 1 13 of Stipulation. This Unopposed Motion seeks such approval.

Cushman & Wakefield, the agreed broker for the sale of assets subject to the Stipulation,
solicited and received written offers to purchase the ALF at issue in this Motion. The successful
bidder is Florida Value Partners, LLC (“FVP”). The proposed purchase price is $2,175,000.
Business Entity and FVP entered into a Commercial Sale Contract on or about June 21, 2018.
Edward Farah, on behalf of FVP, presented information to the Government, upon which the

Government is relying, regarding the lack of present and future involvement by Philip Esformes

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and associated individuals and entities. FVP assigned its right to purchase the ALF known as Eden
Gardens to FVP Eden Gardens, LLC (“FVP Eden Gardens”).

Time is of the essence in this transaction. Business Entity asks that the Court enter an Order
approving this purchase and sale contract at its earliest convenience so that the transaction can be
pushed forward to closing.

For all of the foregoing reasons, Business Entity asks the Court to enter an Order approving
the sale of the ALF to FVP Eden Gardens. Undersigned counsel for Business Entity has conferred
with counsel for Philip Esformes and has been advised that Philip Esformes agrees that this motion
should be granted. Undersigned counsel has conferred with counsel for the Government and has
been advised that the Government does not oppose this Motion.

Dated this | day of July, 2018.

BUSINESS ENTITY: ADAR Associates, LLC

wns ALF known as Eden 2a

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this |’?-th day of July, 2018, the foregoing document was
electronically filed with the Clerk of Court by utilizing the CM/ECF System. I also certify that the
foregoing document is being served this day on all counsel of record identified on the below
Service List either via transmission of Notices of Electronic Filing generated by CM/ECF, or in

some other authorized manner for those counsel of parties who are not authorized to receive

electronically Notices of Electronic Filing. ees ee (Gar)

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